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NOT FOR PUBLICATION


                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY



  LARA M. SANDERS, on behalf of herself and              Case No: 19-996 (SDW) (JAD)
  all other similarly situated consumers,

                        Plaintiff,
                                                         ORDER
                  v.

  CACH, LLC, RESURGENT HOLDINGS
  LLC, and RESURGENT CAPITAL                             September 10, 2019
  SERVICES L.P.,

                        Defendants.


 WIGENTON, District Judge.

        This matter, having come before this Court on Defendants CACH LLC, Resurgent

 Holdings LLC, and Resurgent Capital Services LP’s (collectively “Defendants”) Motion to

 Dismiss Plaintiff Lara M. Sanders’ (“Plaintiff”) Amended Complaint pursuant to Federal Rules of

 Civil Procedure (“Rule”) 12(b)(2) and 12(b)(6), and this Court having carefully reviewed and

 considered the parties’ submissions, for the reasons stated in this Court’s Letter Opinion dated

 September 10, 2019,

        IT IS on this 10th day of September, 2019

        ORDERED that Defendants’ Motion to Dismiss (ECF No. 22) is GRANTED in part,

 and DENIED in part; and it is further

        ORDERED that Plaintiff’s 15 U.S.C. § 1692g(a) and breach of contract claims are

 dismissed against Defendants; and it is further
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        ORDERED that Plaintiff’s claims against Defendant Resurgent Holdings LLC are

dismissed without prejudice

        SO ORDERED.

                                                s/ Susan D. Wigenton_______
                                                SUSAN D. WIGENTON
                                                UNITED STATES DISTRICT JUDGE
Orig:         Clerk
cc:           Joseph A. Dickson, U.S.M.J.
              Parties




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